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       An air photo in June 2005 (see Photo 2.7) shows that the ponded areas adjacent
to the North and South Breaches are no longer present. This is more clearly depicted in
Photo 2.8 where a portion of the photograph taken on April 13, 2005, is compared to
one taken later. Also, it is interesting to note that the trailers, which appear to be related
to the Washington Group work, have disappeared by the time this photograph was
taken in June 2005 (see Photo 2.7).

2.2 North Breach Design and As-Built Plan and Profile Conditions


       Information on the design of the floodwalls at the North and South Breaches
along the IHNC east is provided in Design Memorandum No. 3. Also available is the as-
constructed plan and profile dated November 1969. The design plan and profile
drawings showing the area of the North Breach are depicted in Figure 2.1. As depicted
in Figure 2.1, the 1966 design included installing 18 ft long sheetpiling from about
Elevation 10.0 ft to -8.0 ft (NGVD29) in the area of the North Breach. The crown along
this reach was to be built up to Elevation 9.0 ft which would include about 1 ft of fill
above the existing earth levee. Also shown on the design plans is the top and bottom of
the “I-TYPE Wall” at Elevation 15.0 ft and 7.0 ft, respectively.


       The available as-built plans along the North Breach were found from Station
56+20 and south (see Figure 2.2). These plans, dated November 1969, indicate that the
sheetpiling associated with the floodwall was installed under a separate contract.
(These associated plans were not available). Figure 2.2 indicates that floodwall Z-27
sheetpiling was constructed to Elevation 11.5 ft ", in lieu of the design elevation of 10.0
ft, now making the sheetpile 19.5 ft " long. No other changes in the design to
constructed elevations appear on the as-builts.


       As can be seen on Figure 2.2, the concrete floodwall was poured in monoliths of
30 ft " segments except at the north end of the project where Monoliths 188 and 189
are about 20 ft and about a few feet, respectively. Also, at Station 56+00, the floodwall
turns slightly to meet the orientation of the existing sheetpile, which was installed in a



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